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                          BEST INTEREST ANALYSIS
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Analysis of creditor recoveries should the Title III case be dismissed for the Puerto Rico Electric
Power Authority (“PREPA”)

This analysis assesses the recoveries available to creditors of PREPA based on available remedies
under non-bankruptcy laws, including the Constitution of the Commonwealth of Puerto Rico.
Pursuant to section 314(b)(6) of PROMESA, a proposed Plan of Adjustment should be “feasible
and in the best interest of creditors, which requires the court to consider whether available remedies
under non-bankruptcy law and the constitution of the territory would result in greater recoveries
for the creditors than provided by the plan.” This analysis provides an estimated range of recoveries
available to creditors if the stay of debt enforcement is terminated, no Plan of Adjustment for
PREPA is confirmed, and the Title III case for PREPA is dismissed.
This document consists of two sections. The first section provides an overview of the methodology
followed in developing this analysis. The methodology outlines the approach to estimating
resources available for debt service, a summary of outstanding creditor obligations, the priority in
which funds are disbursed, and the order in which creditor claims are assumed to be paid. The
second section presents the estimated likely range of recoveries available to creditors of PREPA
based on the resources available.
This analysis was prepared by McKinsey & Company Puerto Rico Consulting, Inc. (“McKinsey &
Company”). Proskauer Rose LLP and O’Neill & Borges LLC, 1 legal advisors to the Financial
Oversight and Management Board for Puerto Rico (“FOMB”), provided McKinsey & Company
with a set of legal assumptions used in the preparation of this analysis. The legal assumptions are
included in Appendix 2 of this document. Certain financial advisors to the FOMB provided
McKinsey & Company with financial information used in the preparation of this analysis. Such
financial information included schedules detailing estimates of outstanding bond debt and other
financial data. McKinsey & Company also relied on data published by or directly provided by the
Government of Puerto Rico, PREPA, LUMA, and their respective advisors.
McKinsey & Company has accepted as true, accurate, and appropriate all the legal and financial
information and assumptions provided by Proskauer Rose LLP, O’Neill & Borges LLC, other
FOMB advisors, and the Government of Puerto Rico, PREPA, LUMA, and their respective
advisors. McKinsey & Company has not independently verified any of the information or
assumptions received from Proskauer Rose LLP, O’Neill & Borges LLC, other FOMB advisors,
the Government of Puerto Rico, PREPA, LUMA, and their respective advisors, nor does it take
any independent position with respect to this information and these assumptions.
The assumptions, projections, and estimates used in this analysis are inherently subject to business,
economic, and political uncertainties and, therefore, are subject to change. McKinsey & Company
makes no representation or warranty that the actual recoveries available to, or potentially realized
by, creditors on the basis of available remedies under any laws, including the Puerto Rico
Constitution, would or would not approximate the estimates and assumptions represented in this
analysis, and actual results may vary materially from those estimated herein. McKinsey &


1
    Proskauer Rose LLP and O’Neill & Borges LLC are collectively referred to as “the FOMB’s legal advisors” in this
    analysis.

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Company does, however, represent that the recovery range identified herein is its best estimate of
such recoveries based on the information provided to it.
I. Methodology
Based on guidance provided by the FOMB’s legal advisors, this analysis assumes the PROMESA
Title III case for PREPA is dismissed and PROMESA Titles I and II continue to apply. Therefore,
this analysis assumes the automatic stay of debt enforcement terminates, and the FOMB remains
in place and continues to certify and, as necessary or appropriate, enforce PREPA Fiscal Plans and
budgets, subject to any debt enforcement in excess of the budget the Puerto Rico courts would
lawfully order.
This analysis is based on the revenue and expense projections as contained in the June 2022 PREPA
Certified Fiscal Plan (“Fiscal Plan 2022”). Based on guidance provided by the FOMB’s legal
advisors, and as described in Appendix 2, adjustments to certain Fiscal Plan 2022 projections have
been made to reflect the impact of the dismissal of the Title III case and the assumption that no
Plan of Adjustment is confirmed and consummated. Those adjustments are the following:
      •    This analysis assumes that the creditors will successfully petition the courts for the
           appointment of a receiver. 2 In the absence of Title III protections, the stay of debt
           enforcement would be terminated. At that point, it is assumed that creditors would seek to
           exercise their right to have a receiver appointed as provided for in the Puerto Rico Electric
           Power Authority Act (the “PREPA Enabling Act”) and/or the Trust Agreement by and
           between PREPA and First National City Bank as Bond Trustee (the “Trust Agreement”).
           This analysis considers a range of outcomes dependent on a receiver’s operation of PREPA,
           subject to the Fiscal Plan 2022, as outlined later in this document.
      •    This analysis assumes that PREPA will continue to be regulated by the Puerto Rico Energy
           Bureau (“PREB”). It is assumed the PREB will continue to regulate according to current
           legislation and approve rates under the same procedures and rules.
      •    This analysis assumes that LUMA will have terminated its agreement with PREPA as of
           the Effective Date (defined below), as no Plan of Adjustment will be implemented and that
           LUMA will exercise its termination right resulting from appointment of a receiver.
      •    This analysis assumes that PREPA, in the absence of Title III protections and a Plan of
           Adjustment, will not be able to attract a private operator to replace (i) LUMA and assume
           operations and maintenance (“O&M”) responsibility for PREPA’s transmission &
           distribution (“T&D”) system or (ii) to assume O&M responsibility for PREPA’s generation
           assets, either in general or on reasonable terms acceptable to the Government and/or the
           FOMB. PREPA is assumed to continue performing generation O&M responsibilities itself
           and take over operation of the T&D system as well.
      •    This analysis assumes that the FOMB will continue to exist throughout the period covered
           herein because the requirements for dissolution of the FOMB as defined by PROMESA
           would most likely not be met during this period if the Title III case is dismissed.



2
    This and other capitalized terms are defined in the First Amended Disclosure Statement for Title III Plan of
    Adjustment of the Puerto Rico Electric Power Authority, dated January 27, 2023 (the “Disclosure Statement”, to
    which this document is attached as Exhibit K).

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   •         This analysis adjusts legal and non-legal Title III professional fees to reflect anticipated
             need for prolonged and heightened litigation and dismissal of the Title III case.

This analysis relies on the following three components to calculate the potential recoveries
available to creditors:

        i.      Resource Envelope: The money available to satisfy PREPA creditor obligations,
                including cash on hand available for debt service
       ii.      Outstanding Obligations: The principal, interest, and maturity schedule of each group
                of creditor obligations
    iii.        Priorities for Distribution of Funds: The allocation of resources for debt payment
                consistent with the priorities of use of funds and of payments according to Puerto Rico
                law and the terms of the applicable contracts.

The “Effective Date” of this analysis is June 30, 2023. The percentage recovery is calculated as the
present value as of the Effective Date of the total amount expected to be paid to creditors over the
entire period of this analysis (i.e., FY2024 to FY2050) as a proportion of the total outstanding
principal and unpaid interest as of the PREPA Title III petition date of July 2, 2017 (the “Petition
Date”). Based on guidance provided by the FOMB’s financial advisors, this analysis assumes an
annual discount rate of 6% as reasonable for the calculation of the present value of future principal
and interest payments.

i. Resource Envelope
The total amount of resources available to pay PREPA obligations in each year (the “Resource
Envelope”) is the sum of (1) starting cash available for debt service as of the Effective Date and
(2) surplus generated by PREPA over the course of the year in question.

(1) Starting cash available for debt service (“starting cash”): Based on guidance provided by
the FOMB’s legal and financial advisors, and as described in Appendix 2, the starting cash
available for debt service as of the Effective Date considers the following:

   •     Sinking fund cash balance: As described in Appendix 2, PREPA bondholders have a
         perfected security interest in any moneys in the sinking fund as of the Effective Date. Based
         on guidance provided by FOMB’s legal advisors, this analysis assumes that there will be
         $16 million available in the sinking fund as of the Effective Date.
   •     Unrestricted cash: Refers to PREPA funds that do not have legal limitations on their use.
         The unrestricted cash excludes funds that must be used for specific ongoing operating
         expenses due to Federal or Puerto Rico laws and regulations. Unrestricted cash also
         excludes funds that have any legal restriction because they are part of custodial or trust
         accounts, and funds whose use is restricted by a security interest or court orders. Based on
         guidance provided by the FOMB’s legal advisors and as outlined in section “PREPA’s cash
         accounts” of the Disclosure Statement, unrestricted cash is assumed to be available for debt
         service and is expected to be $112 million as of the Effective Date.
   •     Minimum cash balance: This analysis assumes that PREPA will maintain a minimum cash
         balance to avoid liquidity constraints that could put its operations at risk. Based on guidance
         provided by the FOMB’s financial advisors, per Section 506 of the Trust Agreement,
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       PREPA is allowed to hold an amount equal to 1/6 its annual operating budget (i.e., two
       months). To assess starting cash available for debt service, this analysis considers the
       FY2023 ongoing operating expenses based on Fiscal Plan 2022 as the annual operating
       budget resulting in a minimum cash balance estimate of $762 million as of the Effective
       Date.

The total starting cash available for debt service for all the creditors is comprised of unrestricted
cash, less PREPA’s allowed minimum cash balance. The required minimum cash balance exceeds
the estimated unrestricted cash available as of the Effective Date. Therefore, starting cash available
for debt service for all creditors is assumed to be $0. Additionally, the bondholders have access to
$16 million in the sinking fund as of the Effective Date.

(2) Surplus generated by PREPA over the course of each year: The Trust Agreement provides
for the existence of a sinking fund for the payment of bond obligations owed by PREPA. The same
document stipulates that all net revenues should flow into the sinking fund each year. Any such
funds that flow into the sinking fund each year are available for the payment of interest and
principal owed by PREPA to the bondholders to the extent that such interest and principal remains
unpaid.
The total revenues received by PREPA, minus its total ongoing operating and capital expenses and
any amount required to meet PREPA’s minimum cash balance requirements, constitute the annual
PREPA surplus in any given year. The Fiscal Plan 2022 outlines the following PREPA revenue
categories:

   •   Sale of electricity: Revenue earned from sale of electricity to residential, commercial, and
       industrial customers
   •   Other operating income: Revenues from sources other than sale of electricity (e.g., lease
       of non-utility property, interest income)

The Fiscal Plan 2022 outlines the following PREPA expense categories:

   •   Transmission and distribution operating and capital costs: Expenses for labor, non-
       labor and other operating costs, necessary maintenance expenses, and capital costs
       including system rebuild
   •   Labor operating costs: Expenses for labor associated with operating generation assets and
       the transmission and distribution system
   •   Non-labor and other operating costs: Expenses other than labor (e.g., supplies, rent,
       transportation, bad debt expense) associated with operating, maintaining, and administering
       generation assets and the transmission and distribution system
   •   Necessary maintenance expenses: Expenses for maintaining generation assets and the
       transmission and distribution system (e.g., repairs, materials)
   •   Fuel and power purchase agreements: Cost of fuel (e.g., coal, diesel, fuel oil) and
       expenses for power purchased from 3rd party providers
   •   CILT and subsidies: Expenses for contributions in lieu of taxes (“CILT”) and other
       subsidies that benefit rate payers (e.g., for low-income rate payers)



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       •   PREPA Employees Retirement System pension charge (the “pension obligations”):
           Expenses to fund pension benefits and other post-employee benefits for retirees. Pension
           obligations are treated as ongoing operating expenses in the analysis.

For all revenue and expense items above, this analysis uses projections from the Fiscal Plan 2022,
although certain projections are modified to reflect the dismissal of PREPA’s Title III case and the
lack of a Plan of Adjustment. The modifications take into consideration a number of risks resulting
from financial instability and political uncertainty that may impact implementation of fiscal
measures in the Fiscal Plan 2022, if a Plan of Adjustment is not confirmed.
The list of modifications to the Fiscal Plan 2022 is described below.

       •   Rates: As described in Appendix 2, this analysis assumes that a receiver will attempt to
           increase rates above Fiscal Plan 2022 levels to maximize creditor recoveries throughout the
           period of this analysis. The ability of a receiver to increase rates is uncertain but would
           impact overall surplus.
       •   Load defection: As a consequence of rate increases, this analysis assumes potential for
           load defection beyond the Fiscal Plan 2022 projections (i.e., Base Case 3 and Alternative
           Forecast 4). As a receiver acts to raise rates, this analysis assumes incremental load defection
           from three different sources: (1) reduction of gross load consumption stemming from
           changes in customer behavior (e.g., lower usage of residential appliances), (2) accelerated
           adoption of distributed generation (e.g., solar panels, small-scale diesel generators), and (3)
           accelerated adoption of energy efficiency solutions (e.g., LED lighting).
       •   Generation management transition: As described in Appendix 2, this analysis assumes
           that PREPA, following the termination of LUMA’s contract and in the absence of Title III
           protections and a Plan of Adjustment, will not be able to attract a private operator to replace
           LUMA and assume O&M responsibility for PREPA’s T&D system or PREPA’s generation
           assets, either in general or on reasonable terms acceptable to the FOMB and/or
           Government. PREPA is assumed to continue performing generation O&M responsibilities
           itself. This analysis assumes future efficiencies on ongoing operating expenses under the
           Fiscal Plan 2022 to be delayed, resulting in lower overall surplus.
       •   Bad debt expense: Bad debt expense is estimated as a proportion of revenues. The Fiscal
           Plan 2022 assumes a gradual improvement in collections which is not expected to fully
           materialize in an environment where the PREPA Title III case is dismissed and rates are
           increased by a receiver, resulting in lower overall surplus.




3
    As defined in the Fiscal Plan 2022: “The Certified Fiscal Plan Base Case (the “Base Case”) developed by PREPA
    and LUMA includes a load scenario that is based on assumptions for key gross load drivers (GNP and population
    projections consistent with Commonwealth Certified Fiscal Plan) and for key net load drivers related to energy
    efficiency (EE), distributed generation (DG) adoption and electric vehicle (EV) uptake.”
4
    As defined in the Fiscal Plan 2022: “An alternative forecast based on a bottom-up approach, that uses the current
    situation in Puerto Rico as the starting point, that is not constrained by Puerto Rico Energy Public Policy Act (“Act
    17-2019”), that incorporates the latest data available on current and future costs, and that is supported by driver
    specific models provides a perspective on a potentially different load forecast (the “Alternative Forecast”.)”

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      •   Additional engineering and O&M expenses: This analysis also assumes that a new
          private operator will be required to provide additional services to ensure grid reliability,
          further increasing engineering and O&M expenses beyond the Fiscal Plan 2022 level.

Once ongoing PREPA operating expenses and prepetition claims that constitute current expenses
under the Trust Agreement are paid with the revenues received by PREPA, any remaining revenues
received by PREPA flow into the sinking fund. Moneys deposited into the sinking fund are part of
the Resource Envelope and therefore available for debt payment.

ii.       Outstanding Obligations
This analysis assumes and considers the following classes of claims and associated balances based
on information provided by the FOMB’s legal and financial advisors:

      •   Bonds and swaps: As of the Effective Date, the total amount of principal is projected to
          be $8,266 million and interest is expected to be $2,959 million. This comprises of:
             •   PREPA bonds totaling $8,259 million in principal and $2,959 million in interest as
                 of the Effective Date.
              • Swap agreements totaling $7 million as of the Effective Date arising from interest
                 rate swaps entered into by (i) PREPA and J.P. Morgan (JPM) and (ii) PREPA and
                 Union de Banques Suisse (UBS), each of which is insured by Assured Guaranty.
                 Based on guidance provided by the FOMB’s legal advisors, the swap agreements
                 have the same priority as the bond claims.
      •   General Unsecured Claims (“GUCs”): Based on guidance provided by the FOMB’s legal
          and financial advisors and as highlighted in Appendix 2, the total amount of General
          Unsecured Claims is projected to be of $3,453 million as of the Effective Date, comprised
          of:
             •   Fuel Line Lenders claims: Total claims estimated to be $1,143 million, including
                 accrued interest
             •   Commonwealth repayment (per resolution of LUMA contract): Total claims
                 estimated to be $750 million
             •   Cobra claim: Total claims estimated to be $393 million, including accrued interest
             •   LUMA termination fee: Total claims estimated to be $137 million, comprehensive
                 of inflation adjustments accruals
             •   LUMA backend transition and demobilization: Total claims estimated to be $90
                 million
             •   PUMA Energy claim: Total claims estimated to be $45 million
             •   Whitefish Energy claim: Total claims estimated to be $34 million
             •   Federal claims: Total claims estimated to be $17 million
             •   Vitol claim: Total claims estimated to be $41 million
             •   Takings claims: Total claims estimated to be $2 million
             •   Other claims: Total claims estimated to be $800 million

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iii.       Priorities for Distribution of Funds
As described in Appendix 2, the available funds will be first distributed to pay the ongoing
operating expenses in “an amount which is reasonable and necessary for maintaining, repairing and
operating the System in an efficient and economical manner.” Pension obligations in Fiscal Plan
2022 are treated as ongoing operating expenses. This analysis assumes that after paying the
ongoing operating expenses, PREPA will pay the current expenses under the Trust agreement and
other critical unsecured claims, listed below:
       •   Fuel Line Lenders claims
       •   Commonwealth repayment (per resolution of LUMA contract)
       •   Cobra claim
       •   LUMA termination fee
       •   LUMA backend transition and demobilization
       •   PUMA Energy claim
       •   Whitefish Energy claim

PREPA bonds and swap agreements will be paid next, using moneys available in the Resource
Envelope. Subsequently, if there are any resources remaining after paying PREPA bonds and swap
agreements, they will be used to pay the remaining General Unsecured Claims.

Exhibit 1 summarizes the order in which funds are disbursed and claims are paid, based on guidance
provided by the FOMB’s legal advisors and outlined in Appendix 2. For the claims considered in
this analysis, debt with the same priority receives the same percentage recovery of debt owed in a
given year. The distribution of resources available to pay creditor obligations follows a distribution
waterfall (described below) and leads to a range of recoveries, as described below.




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Exhibit 1: Distribution waterfall




Based on guidance provided by the FOMB’s legal advisors, funds available at each stage are first
assumed to be credited against cumulative interest owed, and then to the debt principal maturing
in that year or previously, if any amount remained unpaid. Unpaid principal is assumed to accrue
interest according to the original rates stipulated in each of the relevant contracts and is then added
to the following year’s debt. It is assumed that no interest accrues on interest balances. Based on
the same guidance provided by the FOMB’s legal advisors, stating that the trustee has the right to
accelerate the PREPA bonds and swap agreements, including past due principal and interest, and
current debt service going forward, this analysis assumes that payment of all PREPA bonds and
swap agreements is to be accelerated, that is, owed to claimholders on the Effective Date.


II. Estimated likely range of recoveries available to creditors

The estimated likely range of recoveries available to PREPA creditors is dependent on the
realization of (i) two possible scenarios (“Scenario 1” where the Government of Puerto Rico does
not permit a receiver to increase rates above a certain cap and “Scenario 2” where the Government
of Puerto Rico and the FOMB do not interfere with such receiver’s actions) and (ii) business
assumptions impacting the lower and higher ends of the recovery range (see details below). The
combination of various scenarios and business assumptions results in four possible outcomes as
described in this analysis.



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Based on guidance provided by the FOMB’s legal advisors, both Scenario 1 and Scenario 2 assume
that PREPA’s Title III case will be formally dismissed, a receiver will be appointed in a timely
fashion (i.e., within two months of the Effective Date), and that such receiver will choose to
increase rates to the extent possible with the sole goal of maximizing the funds available in the
Resource Envelope for creditor recovery.

As outlined in Appendix 2, there are many situations in which the Commonwealth may be
empowered to set electricity rates. The Commonwealth may be permitted to exercise legislative
and/or police power to establish a cap on electricity rates, even if this restriction conflicts with the
desired rates of PREPA or any receiver, or even if the rate covenants of bond or fuel line lender
documents are found to be enforceable and/or PREB approves of or orders higher rates. Puerto
Rico law also allows the government to limit rate increases in certain circumstances. Therefore,
Scenario 1 assumes that the Government of Puerto Rico does not permit a receiver to increase rates
above a certain cap (i.e., the cap based on the Fiscal Plan 2022).

Alternatively, in the absence of the Commonwealth’s exercise of legislative and/or police powers,
or if a court finds that such powers do not override the Trust Agreement and other creditor
agreements, a receiver will be assumed to operate without restrictions and enforce rate increases to
maximize creditor recoveries. Therefore, Scenario 2 assumes that the Government of Puerto Rico
and the FOMB do not interfere with such receiver’s actions.

In addition, the following business assumptions impact the higher and lower ends of the recovery
range:
   •   Load defection: The lower and upper ends of the range are impacted by (1) different
       assumptions on incremental adoption of distributed generation solutions driven by rate
       increases and (2) varying baseline projections of energy efficiency solutions adoption.
       (1) The upper end of the range assumes lower adoption of distributed generation solutions
           driven by rate increases (i.e., lower elasticity parameter). The lower end of the range
           assumes higher adoption of distributed generation driven by rate increases (i.e., higher
           elasticity parameter).
       (2) The upper end of the range assumes lower energy efficiency adoption resulting in lower
           load defection (i.e., Alternative Forecast, as specified in the Fiscal Plan 2022). The
           lower end of the range assumes higher energy efficiency adoption resulting in higher
           load defection (i.e., Base Case, as specified in the Fiscal Plan 2022).
   •   Generation management transition: This analysis assumes future efficiencies on ongoing
       operating expenses under the Fiscal Plan 2022 will be delayed, driven by challenges
       associated with LUMA contract termination. The reduction in ongoing operating expenses
       associated with future efficiencies that were budgeted into the Fiscal Plan 2022 starting in
       FY2024 will not be achieved within the originally projected timeline. Therefore, this
       analysis assumes a delay in achieving these efficiencies. The upper end of the range
       assumes a delay of 3 years. The lower end of the range assumes a delay of 4 years.

Based on the scenarios and business assumptions described above, aggregate recoveries (i.e., the
present value of total recoveries for all creditors assuming PREPA’s Title III case is dismissed, and
all claims are enforced under non-bankruptcy law) are estimated to be $16 million to $7,556

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million. This would represent an implied aggregate recovery rate of ~0% to 65%. Recoveries would
differ between different debt classes, as shown in Exhibit 2. Exhibit 3 (included in Appendix 1)
provides additional detail on the estimated likely range of recoveries available to creditors for
Scenario 1 and Scenario 2.

Exhibit 2: Estimated likely range of recoveries available to creditors by debt class




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APPENDIX 1

The following exhibit provides additional detail on the estimated likely range of recoveries
available to creditors.

Exhibit 3: Estimated likely range of recoveries available to creditors by debt class and scenario




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APPENDIX 2




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                                                          PREPA Title III Plan
                                          Best Interests Test Analysis – Assumptions
              Question                                                                Assumption

1.   Will a receiver be            ASSUMPTION: Yes. A receiver will be appointed two months after the Title III case is dismissed.
     appointed, and if so,
     when?                         BASIS: Outside of Title III, a court is likely to find the Bondholders have a right to have a receiver appointed
                                   under 22 L.P.R.A. § 207. It is assumed that the Bondholders will renew their previous request to seek such
                                   relief in the Commonwealth courts, and relief will be granted in accordance with the Trust Agreement and the
                                   PREPA Enabling Act.
2.   What electricity rates will   ASSUMPTION 1 [MAIN ASSUMPTION]: Starting on the effective date of this analysis (June 30, 2023),
     be in effect for PREPA?       rates will be limited to the lesser of (a) the rate determined by the Commonwealth, PREB, the legislature,
     When will those rates be      and/or the FOMB that would minimize risk to the Commonwealth’s economic recovery and/or harm PREPA
     set?                          through erosion of PREPA’s customer base; and (b) the rate which allows PREPA’s revenues to cover
                                   Current Expenses (defined below) (including funding the pension system back to solvency), annual revenue
                                   bond debt service (excluding swap agreements), and all overdue payments for all PREPA bonds.

                                   Revenues include income derived from the sale of electricity generated or distributed by the System;
                                   proceeds of use and occupancy insurance on the System or any part thereof; income from the investment of
                                   moneys under the Trust Agreement, except income from the investment of moneys in the Construction Fund,
                                   the Reserve Maintenance Fund, the Capital Improvement Fund, the Subordinate Obligations Fund; and
                                   disaster relief funds from the federal government, including FEMA and HUD.

                                   BASIS: There are many situations in which the Commonwealth will be empowered to set electricity rates.
                                   The Commonwealth may be permitted to exercise legislative and/or police power to establish a cap on
                                   electricity rates, even if this restriction conflicts with the desired rates of PREPA or any receiver, or even if
                                   the rate covenants of bond or fuel line documents are found to be enforceable and/or PREB approves of or
                                   orders higher rates. Puerto Rico law also allows the government to create a committee that could limit
                                   increases on the island.

                                   ASSUMPTION 2 [ALTERNATIVE ASSUMPTION]: The Bondholders and/or Fuel Line Lenders will be
                                   permitted to invoke and enforce the rate covenant to compel rates required pursuant to the Trust Agreement
                                   and Fuel Line Lender credit documents. Additionally the pension system will be able to enforce collection of
                                   unpaid employer contributions from the last decade. This invocation will apply independent of whether or
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             Question                                                               Assumption

                                   not a receiver has been appointed. As of the date the order enforcing a rate increase goes into effect
                                   (described below), rates will be set each year to cover (a) in years where PREPA has defaulted on its debt
                                   obligations, all debt service (including all overdue payments) and (b) in years where PREPA is not in default
                                   on its debt obligations, 120% of annual debt service, after paying expenses (including maintenance expenses
                                   and future fuel line lender expenses), and reserving for two months of liquidity. PREPA maintains the
                                   current rate structure until 60 days following PREB’s entry of an order enforcing a requested rate increase,
                                   which order is assumed to occur six months after dismissal of the Title III case.

                                   BASIS: In the absence of the Commonwealth’s exercise of legislative and/or police powers, or if a Court
                                   finds such powers do not override the Trust Agreement, Fuel Line Lender documents, or rights of the
                                   SREAEE, the rate covenant in the Trust Agreement and other such obligations of PREPA might be
                                   enforceable. Further, once PREB enters an order approving a rate increase, Sec. 6.25(f) of Act 57-2014, as
                                   amended, provides that a “newly approved rate shall take effect sixty (60) days after the effective date of the
                                   Bureau’s order.”
3.   Should debt (principal +      ASSUMPTION: Assume contract or statutory interest that would have accrued during the Title III case is
     interest, plus pension        owed on a non-compounding basis. Assume that in years where full payment of matured debt is not made,
     arrearage, judgments, etc.)   subsequent payments are first credited against interest, and then against principal.
     that remained unpaid
     during the stay accrue          i.    Interest on all PREPA debt during stay: Pursuant to PROMESA § 303, interest continues to accrue
     additional interest?                  at the contract rate during any moratorium, unless the underlying contract provides for default
                                           interest, in which case the latter should be used. There is no statutory provision for interest on
                                           interest.
                                                a. Interest on unsecured claims during stay: Assume that under PR law, interest accrues on
                                                     unpaid unsecured obligations after default at the agreed upon rate, or at the legal rate in the
                                                     absence of agreement, unless the agreement provides that no such interest shall accrue,
                                                     subject to certain conditions. Further assume no interest accrues on debt having no interest
                                                     rate.
                                                b. Interest on judgment claims: Commonwealth law also provides for interest on unpaid
                                                     judgments at the legal rate, unless otherwise agreed. The legal rate on government
                                                     obligations was fixed by law at 6% until July of 2016, and is currently set by the Office of
                                                     the Commissioner of Financial Institutions (“OCIF”). Pursuant to regulation adopted by
                                                     OCIF’s predecessor, the rate is equal to the 6-month Treasury bill rate, rounded to the nearest

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                                               ½ of 1%. It was (i) 0.50% from July 2016 through 6/30/17; (ii) 1.00% from 7/1/17 through
                                               12/31/17; (iii) 1.50% from 1/1/18 through 6/30/18; (iv) 2.00% from 7/1/18 through 12/31/18;
                                               (v) 2.50% from 1/1/2019 through 12/31/2019; (vi) 1.50% from 1/1/2020 through 6/30/2020;
                                               (vii) 0.50% from 7/1/2020 through 6/30/2022; and (viii) after 7/1/2022.
                                            c. Interest on federal claims during stay: Assume interest accrued during the stay. The
                                               federal government can ultimately collect its debt and interest through setoffs against future
                                               aid. The documents underlying each federal claim may set the interest rates. The current
                                               federal judgment rate is 4.65% per year.
                                            d. Interest on unpaid bond debt: Assume any unpaid debt accrues interest according to the
                                               weighted average coupon rate as of 2023 provided by Citi.
                                            e. Interest on interest should not accrue: Puerto Rico law permits the payment of interest on
                                               overdue interest under certain circumstances, such as if it was expressly agreed by the
                                               parties. However, the PREPA bonds, Fuel Line Lender claims, and SREAEE claims do not
                                               provide for interest on overdue interest.

4.   What, if any, cash at       ASSUMPTION: PREPA will be permitted to maintain a minimum cash balance equal to, and not more
     PREPA is restricted or      than, an amount equal to one-sixth of its Annual Operating Budget (i.e., two months) in the General Fund,
     otherwise unavailable for   which amount will be recalculated annually. These amounts should be assumed not available for distribution
     distributions?              to creditors as they are essential to maintain operations.

                                 Additionally, any amounts that PREPA may have in investment accounts for the benefit of its pensioners are
                                 not available for distribution to creditors.

                                 Federal and insurance funds allocated to payment of recovery expenses remain restricted, although funds
                                 reimbursed to PREPA for recovery costs already paid are unrestricted. Because the LUMA O&M agreement
                                 is assumed to terminate, the LUMA reserve funds must be returned to the Commonwealth under the terms of
                                 that appropriation.

                                 BASIS: Under Section 506 of the Trust Agreement, PREPA is entitled to hold an amount equal to one-sixth
                                 of its Annual Operating Budget (i.e., two months) in the General Fund. Based on the Trust Agreement, that



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                                 amount is required to be retained by PREPA and is not available for payment to the Bondholders. It is
                                 available to pay Current Expenses (defined below).

5.   Should we assume that the   ASSUMPTION: Neither the Transmission and Distribution O&M transaction, nor the proposed Generation
     ongoing Transmission &      O&M transaction, occur in the absence of a Title III plan. The contract with LUMA will terminate on the
     Distribution O&M            effective date of this analysis. PREPA will be required to pay LUMA a $115 million termination fee in 2020
     transaction and the         dollars, adjusted for inflation, in accordance with the contract (including the Supplemental Terms Agreement,
     proposed Generation         as extended on or around November 30, 2022), plus fees for LUMA’s back-end transition and
     O&M transaction do not      demobilization, contemporaneous with the effective date, which are estimated to be $90 million.
     occur?                      Furthermore, PREPA will be obligated to repay the Commonwealth $750 million that was approved in the
                                 Oversight Board’s May 2020 Resolution approving the LUMA contract.

                                 BASIS: No private operator would risk the time and investment with an insolvent entity that is run by a
                                 court-appointed receiver, the potential enforcement of the rate covenant, and litigation with the Fuel Line
                                 Lenders, Bondholders, pension system, and others. The current O&M process assumes a fully restructured
                                 PREPA with no legacy issues.

                                 The LUMA contract, by its terms, allows LUMA to terminate its agreement with PREPA if no plan of
                                 adjustment is confirmed for PREPA by December 1, 2022 (the extension of this date is currently under
                                 discussion among the parties); dismissal of the Title III case will be an anticipatory breach of the LUMA
                                 contract.

                                 The FOMB agreed to have the Commonwealth provide PREPA $750 million to be used in connection with
                                 the contract with LUMA. However, the resolution pursuant to which such monies were allocated provides
                                 that if the contract with LUMA is terminated, PREPA is obligated to return such funds to the
                                 Commonwealth.

6.   Energy Efficiency: Based    ASSUMPTION 1 (MAIN ASSUMPTION): Although this is aspirational and not within PREPA’s control,
     on Act 17-2019,             the base case in the PREPA Fiscal Plan assumes efficiency targets are met.
     PREB/PREPA is required
     to achieve a 30% load       BASIS: The PREPA Fiscal Plan is consistent with Act 17-2019. Accordingly, PREB/PREPA, and any
     reduction through energy    receiver taking over PREPA’s operations, are lawfully required comply with Act 17-2019.

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     efficiency by 2040 (i.e.,
     more efficient appliance,     ASSUMPTION 2 (ALTERNATIVE ASSUMPTION): The PREPA Fiscal Plan’s alternative scenario for
     building construction         slower adoption of energy efficiency is realized.
     materials, etc.). Does this
     requirement remain in         BASIS: The PREPA Fiscal Plan contemplated an alternative scenario to present a potentially more realistic
     effect?                       timeline for energy efficiency targets.

7.   To which Revenues are         ASSUMPTION: The Bondholders are entitled under the Trust Agreement to have PREPA deposit in the
     the Bondholders entitled      Sinking Fund all Net Revenues (as defined in the Trust Agreement). The Net Revenues consist of all gross
     pursuant to the Trust         revenues of PREPA, including customer collections, insurance proceeds, and income from investments,
     Agreement?                    minus “reasonable and necessary current expenses of maintaining, repairing and operating [PREPA]” (as
                                   defined in the Trust Agreement) (the “Current Expenses”), which includes engineering expenses related to
                                   operations and maintenance and “any payment to pension or retirement funds,” and may include payments to
                                   the Fuel Line Lenders, discussed in the Assumption immediately below. PREPA is also entitled to retain an
                                   amount equal to 1/6 of its Annual Operating Budget in the General Fund.

                                   BASIS: Independent of whether or not the Bondholders have a perfected security interest in Gross
                                   Revenues, PREPA has a contractual right to have Revenues flow through the General Fund, be used to pay
                                   Current Expenses, and then sent to the Sinking Fund, in which Bondholders have a perfected security interest
                                   through possession and control. The Trustee has control over the deposit accounts comprising the Sinking
                                   Fund, and Bondholders will be paid ratably from the monies in the Sinking Fund. If PREPA were to breach
                                   the Trust Agreement, the Bondholders could obtain a remedy of specific performance from the
                                   Commonwealth courts in addition to the appointment of a receiver to compel PREPA to raise rates to a
                                   sufficient level to pay current expenses and the amounts owed to the Bondholders. To the extent these
                                   contractual rights are pari passu with the contractual rights of other unsecured claimholders, the receiver will
                                   have the ability, and is likely, to provide for the flow of Revenues as described herein, such that Bondholders
                                   are paid from Net Revenues prior to other unsecured claimholders being paid from Net Revenues. The
                                   amount of Net Revenues that end up in the Sinking Fund depend on the rate assumptions described above.

8.   Are retirement systems        ASSUMPTION: Payments to fund the retirement system are determined to be Current Expenses with
     and Fuel Line Lenders         priority over bond debt. Similarly, Fuel Line Lender claims are determined to be Current Expenses with
                                   priority over bond debt.

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      entitled to be paid prior to,
      or after debt service?          BASIS: Retirement system expenses qualify as Current Expenses pursuant to the Trust Agreement and
                                      enforce a priority over the Bondholders, or alternatively, PREPA may decide to make these payments in its
                                      discretion to the retirement system. Similarly, Fuel Line Lender claims are Current Expenses pursuant to the
                                      Trust Agreement and that such a status entitles them to a priority of payment over the Bondholders.
9.    Are the bondholder claims       ASSUMPTION: The Bondholder claims are nonrecourse against PREPA. They can recover only from the
      recourse or non-recourse?       Sinking Fund and certain subordinate funds (which hold certain Net Revenues—i.e., Revenues minus Current
                                      Expenses) as described in the Trust Agreement, in which there is currently approximately $16 million. The
                                      Bondholders will not be able to enforce any deficiency claim against PREPA, including gross revenues.

                                      BASIS: The language of the Trust Agreement provides that the bonds are nonrecourse.

10.   What, if any, claims are        ASSUMPTION: The Fuel Line Lenders will obtain a judgment with respect to their claim. The entire
      accelerated?                    amount outstanding is due and payable immediately upon the effective date of this analysis (including
                                      accrued interest). The SREAEE employer contribution arrearage will also be due and payable.

                                      The Trustee has the right to accelerate the PREPA bonds, which will include past due principal and interest,
                                      and current debt service going forward. The Trustee will make the decision regarding acceleration in the
                                      manner most economically favorable to the Bondholders.

                                      BASIS: Pursuant to the underlying documents, as of the effective date of this analysis, the Fuel Line
                                      Lenders’ claims and pension system arrears are already due, and the Bondholders have the right to accelerate
                                      their claims.

11.   How should PREPA’s              ASSUMPTION: Swap obligations are treated the same as the Bondholders, and swap counterparties, like
      swaps be treated?               the Bondholders, are secured by the Sinking Fund and subordinate funds.

                                      BASIS: Swap claims are secured claims under the Trust Agreement. PREPA’s underlying exposure on
                                      swaps is insured by Assured, and claimants are allowed to assert their full claim against Assured. Assured
                                      will then have the equivalent of a bond claim under the Trust Agreement for any amounts paid by it.



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12.   What is the order in which   ASSUMPTION: The claims will be paid in the following order, from both PREPA’s starting available
      PREPA will pay its           resources and revenues, subject to the litigation risks discussed herein:
      various obligations?
                                       1. Current Expenses (including maintenance to preserve generation capabilities and the grid’s
                                          operational capacity in the long term, as well as any necessary catch-up payments on deferred
                                          maintenance (but not any payments to improve or modernize generation or the grid)), the two month
                                          reserve, payments for pension benefits, and payments to Fuel Line Lenders (if the Fuel Line Lenders
                                          are found to be a Current Expense).
                                       2. One-sixth of the annual Operating Budget held in Reserve Account (Trust Agreement § 506).
                                       3. Bondholders (entitled to all Net Revenues deposited into the Sinking Fund) (Trust Agreement § 507).
                                       4. Unsecured claims (including legacy GUCs, the pension claim, and Fuel Line Lenders’ claim, if not
                                          found to be a Current Expense).
                                       5. Capital expenditures, including essential system improvements, other than improvements to be made
                                          from federal funds.

                                   BASIS: The Trust Agreement provides that PREPA “covenants that moneys in the General Fund will be
                                   used first for the payment of the Current Expenses of the System, that such expenses will not exceed an
                                   amount which is reasonable and necessary for maintaining, repairing and operating the System in an efficient
                                   and economical manner, and that the total amount of Current Expenses in any fiscal year will not exceed the
                                   amount provided therefor in the Annual Budget for such fiscal year or any amendment thereof or
                                   supplement…” Trust Agreement § 505.

                                   Pursuant to the Trust Agreement, PREPA first pays Current Expenses, then it retains in the General Fund a
                                   “reserve for Current Expenses as the Treasurer may determine, but not more than one-sixth (1/6) of the
                                   amount shown by the Annual Budget to be necessary for Current Expenses.” Trust Agreement § 506. The
                                   budgets certified by the Oversight Board are used in lieu of any Annual Budget as defined in the Trust
                                   Agreement. Finally, any revenues still left are transferred to the Sinking Fund. Trust Agreement §§ 506, 507.

                                   Because capital improvements will be last, and other than improvements to be made with federal funding, the
                                   system will continue to degrade.



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 DEBT STACK 1

     1. Adjustments from Fiscal Plan
           a. In the case of PREPA professional advisor fees:
                     i. Legal services fees will recur through FY2027 assuming extensive litigation need
                        without Title III protections or a Plan of Adjustment, equaling the FY2022 run
                        rate of legal fees plus an additional 20% through FY2027
                    ii. Non-legal services fees would equal one-half of the FY2022 run rate through
                        FY2027
           b. All professional fees for the creditors committee are assumed to be zero after the
               effective date of this analysis (June 30, 2023).
     2. PREPA Debt as of the Effective Date of the PREPA BIT Analysis
           a. PREPA bonds: $8,259 million in principal and $2,959 million in interest
           b. Fuel Line Lenders claims: $1,143 million, including accrued interest
           c. Swap agreements: $7 million in principal and $0 in interest
     3. Post-Petition Current Expenses (as of the Effective Date of the PREPA BIT Analysis)
           a. Commonwealth repayment (per resolution of LUMA contract): $750 million
           b. Cobra claim: $393 million including accrued interest
           c. LUMA termination fee: $137 million, comprehensive of inflation adjustments accruals
           d. LUMA backend transition and demobilization: $90 million
           e. PUMA Energy claim: $45 million
           f. Whitefish Energy claim: $34 million (assuming PREPA prevails in a pending appeal with
               the Federal Emergency Management Agency; could increase to $40 million).
     4. Pre-Petition Claims (as of the Petition Date)
           a. General Unsecured Claims: $800 million
           b. Vitol claim: $41,457,382.88
           c. Takings claims: $2,437,556
           d. Federal claims: $16,859,577




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   The financial information contained herein relies on information available in most recent publicly available financial
 statements and, in certain cases, information received from the Oversight Board’s advisors and the Commonwealth
 advisors. The legal advisors take no position as to the accuracy of the financial information provided herein or the
 validity or allowability of any of the claims enumerated herein, and the Oversight Board’s right to challenge any such
 claims is expressly reserved.

 LUMA was not involved in the preparation of the best interests test analysis. LUMA takes no position on the accuracy
 or completeness of the information contained therein and the conclusions derived therefrom.

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